             Case 19-10909-mdc               Doc 11        Filed 02/26/19 Entered 02/26/19 19:26:47                            Desc Main
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      Fill in this information to identify your case:

Debtor 1                    Tasnuva Shamsher
                            First Name             Middle Name             Last Name

Debtor 2
(Spouse if, filing)         First Name             Middle Name             Last Name

                                             EASTERN DISTRICT OF PENNSYLVANIA, PHILADELPHIA
United States Bankruptcy Court for the:      DIVISION

Case number              19-10909
(if known)
                                                                                                                           Check if this is an
                                                                                                                              amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                      Sign Below


       Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?


        No
              Yes. Name of person                                                                     Attach Bankruptcy Petition Preparer’  s Notice,
                                                                                                       Declaration, and Signature (Official Form 119)


      Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
      that they are true and correct.

       X /s/ Tasnuva Shamsher                                              X
             Tasnuva Shamsher                                                  Signature of Debtor 2
             Signature of Debtor 1

             Date       February 26, 2019                                      Date
